           Case 19-20261                Doc 4          Filed 02/22/19     Entered 02/22/19 10:23:48                       Page 1 of 2

Information to identify the case:
Debtor 1               Corinne D. Thompson                                               Social Security number or ITIN        xxx−xx−5155
                       First Name   Middle Name     Last Name                            EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                 Social Security number or ITIN _ _ _ _
                       First Name   Middle Name     Last Name
(Spouse, if filing)
                                                                                         EIN     _ _−_ _ _ _ _ _ _
United States Bankruptcy Court             District of Connecticut
                                                                                         Date case filed for chapter 7 2/22/19
Case number:          19−20261 jjt


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                           12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                  About Debtor 1:                                     About Debtor 2:

1.      Debtor's full name                        Corinne D. Thompson

2.      All other names used in the
        last 8 years

3.     Address                                1 Crouch Street
                                              Groton, CT 06340

4.     Debtor's attorney                      David F. Falvey                                         Contact phone (860) 449−1510
                                              Action Advocacy PC
       Name and address                       One Crouch Street
                                              Groton, CT 06340

5.     Bankruptcy trustee                     John J. O'Neil                                          Contact phone (860)527−3271
                                              255 Main Street
       Name and address                       Hartford, CT 06106
                                                                                                                                             >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline
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Debtor Corinne D. Thompson                                                                                                    Case number 19−20261 jjt


6. Bankruptcy clerk's office                    450 Main Street                                                   Hours Open: 9:00 a.m. − 4:00 p.m.
                                                7th Floor                                                         Monday − Friday
    Documents in this case may be filed at this Hartford, CT 06103                                                Contact phone: 860−240−3675
    address. You may inspect all records filed
    in this case at this office or online at                                                                      VCIS: Toll Free 1−866−222−8029
    www.pacer.gov.                                                                                                Date: 2/22/19

7. Meeting of creditors                          April 3, 2019 at 09:00 AM                                        Location:

    Debtors must attend the meeting to be        PLEASE ARRIVE 20 MINUTES BEFORE YOUR 450 Main Street, Room 742,
    questioned under oath. In a joint case,      SCHEDULED HEARING TIME ABOVE TO      Hartford, CT 06103
    both spouses must attend. Creditors may
    attend, but are not required to do so.       ALLOW FOR THE SECURITY SCREENING
                                                 PROCESS REQUIRED TO ENTER THE
                                                 BUILDING.

8. Presumption of abuse                          If the presumption of abuse arises, you may have the right      The presumption of abuse does
                                                 to file a motion to dismiss the case under 11 U.S.C. §          not arise.
                                                 707(b). Debtors may rebut the presumption by showing
                                                 special circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                     Filing deadline: 6/3/19
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                 You must file a complaint:
                                                 • if you assert that the debtor is not entitled to
                                                   receive a discharge of any debts under any of the
                                                   subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                   or

                                                 • if you want to have a debt excepted from discharge
                                                   under 11 U.S.C § 523(a)(2), (4), or (6).

                                                 You must file a motion:
                                                 • if you assert that the discharge should be denied
                                                   under § 727(a)(8) or (9).


                                                 Discharge will not enter unless the Debtor's                     Filing deadline: 6/3/19
                                                 Certification of financial Management (Official
                                                 Form B23) is filed:
                                                 Please note: This is not the same as the pre−filing credit
                                                 counseling certificate.


                                                 Deadline to object to exemptions:                                Filing deadline: 30 days after the
                                                 The law permits debtors to keep certain property as              conclusion of the meeting of creditors
                                                 exempt. If you believe that the law does not authorize an
                                                 exemption claimed, you may file an objection.


                                                 Deadline to File Reaffirmation Agreements:                       Filing deadline: 6/3/19

10. Proof of claim                               No property appears to be available to pay creditors. Therefore, please do not file a proof of claim now. If
                                                 it later appears that assets are available to pay creditors, the clerk will send you another notice telling you
                                                 that you may file a proof of claim and stating the deadline.
    Please do not file a proof of claim unless
    you receive a notice to do so.


11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court
                                                 to extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you
                                                 have any questions about your rights in this case.


12. Exempt property                              The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                                 distributed to creditors. Debtors must file a list of property claimed as exempt. You may inspect that list at
                                                 the bankruptcy clerk's office or online at www.pacer.gov. If you believe that the law does not authorize an
                                                 exemption that the debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                 objection by the deadline to object to exemptions in line 9.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline
